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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        EASTERN DIVISION
LEISHA REAVES,                            }
                                          }
      Plaintiff,                          }
                                          }
v.                                        }   Case No.: 1:11-cv-03859-MHH
                                          }
CABLE ONE, INC.,                          }
                                          }
      Defendant.                          }


                                     ORDER

      Plaintiff Leisha Reaves and defendant Cable One, Inc. have filed a joint

stipulation of dismissal with prejudice. (Doc. 54).

      The Court ORDERS that this action is DISMISSED WITH PREJUDICE.

The parties are to bear their own costs, expenses, and attorney’s fees. The Court

DIRECTS the Clerk of Court to please close the file.

      DONE and ORDERED this March 30, 2015.


                                    _________________________________
                                    MADELINE HUGHES HAIKALA
                                    UNITED STATES DISTRICT JUDGE
